      Case 19-64835-pmb          Doc 15 Filed 10/04/19 Entered 10/04/19 17:24:14                       Desc Order
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                            UNITED STATES BANKRUPTCY COURT
                                 Northern District of Georgia
                                      Atlanta Division


In     Debtor(s)
Re:    Bonnie Rose                                          Case No.: 19−64835−pmb
                                                            Chapter: 13



 ORDER DISMISSING CASE FOR FAILURE TO PAY FILING
                       FEE

The above referenced case was filed on September 18, 2019. An Order Regarding Unpaid Filing Fees
was issued on September 19, 2019 and the debtor has failed to comply with the terms of that Order.
Accordingly, it is hereby

ORDERED THAT THIS CASE IS DISMISSED.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor, any
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of
this Order upon any employer of the Debtor(s) who is subject to an Employer Deduction Order.



SO ORDERED, on October 4, 2019 .




                                                            Paul Baisier
Clerk, United States Bankruptcy Court                       United States Bankruptcy Judge
Atlanta Division
1340 United States Courthouse
75 Ted Turner Drive SW
Atlanta, GA 30303


Dated: 10/4/19
Form 523
